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                            UNITED STATES DISTRICT COURT .                      SUPPRESSED
                             EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION
                                                                                    FILED
UNITED STATES OF AMERICA,                            )
                                                     )                           OCT 2 4 2019
                       Plaintiff,                    )                          U.S. DISTRICT COURT
                                                     )       No.              EASTERN DISTRICT OF MO
                                                                                      ST.LOUIS
v.                                                   )
                                                     )
JOHN MORRIS,                                         )
                                                     )      4:19CR896 JAR/JMB
                       Defendant. ,                  )

                                            INDICTMENT

                                            COUNT ONE

       The Grand Jury charges that:

     On or about July 30, 2019, and continuing until July 31, 2019, in the City of St. Louis, within

the Eastern District of Missouri,

                                        JOHN MORRIS,

the Defendant herein, knowingly possessed one or more firearms, knowing he had previously been

convicted in a court oflaw of one or more crimes punishable by a term of imprisonment exceeding

one year, and that each firearm previously traveled in interstate or forejgn commerce _during or

prior to being in defendant's possession.

     In violation of Title 18, United States Code, Section 922(g)(l ).

                                                             A TRUE BILL


                                                             FOREPERSON
JEFFREY B. JENSEN
United States Attorney


GREGORY M. GOODWIN, #65929MO
Special Assistant United States Attorney
